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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                 Fort Lauderdale Division

  D.N., by her next friends, JESSICA N.,
  mother, and GARY N., father,

                       Plaintiff,                  Civil Case No. 21-CV-61344

                v.

  GOVERNOR RONALD DESANTIS,
  et al.,

                  Defendants.
  __________________________________/



       MOTION OF THE CHRISTIAN FAMILY COALITION (CFC) FLORIDA, INC.,
          FOR LEAVE TO FILE BRIEF AMICUS CURIAE IN SUPPORT OF
           DEFENDANT GOVERNOR RONALD DESANTIS AND OTHER
               STATE GOVERNMENTAL DEFENDANTS SEEKING
               DISMISSAL OF THE COMPLAINT IN THIS ACTION


         Without opposition from any party, the Christian Family Coalition (CFC) Florida,

  Inc. (“Amicus” or “CFC”), hereby moves for leave to file its attached Amicus Brief in

  support of defendant Governor Ronald DeSantis and other defendants seeking

  dismissal of the complaint in this action pursuant to Fed.R.Civ.P. 12(b)(6). Plaintiff and

  all defendants responding to counsel’s email have consented to the filing of CFC’s

  Amicus Brief, as detailed in the Certificate below under S.D.Fla. Civil Rule 7.1(a)(3).

         The Amicus Brief will assist this Court in resolving the pending motion to dismiss.

  Amicus was actively involved in lobbying in the Florida State Legislature for passage of

  the legislation at issue in this case. Amicus, a non-profit Florida corporation, is a human

  rights and social justice advocacy organization representing over 500,000 fair-minded
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  voters and citizens in the State of Florida. Amicus actively seeks to protect human

  rights and social justice in litigation, political forums, schooling and education, and

  society generally. Amicus and the 500,000+ citizens it represents have an acute

  interest in ensuring fairness, equality of opportunity, justice, and human rights in the

  forums and institutions of society and government. In pursuit of these interests, Amicus

  and the 500,000+ citizens it represents have a special interest in ensuring the fairness

  in education and sporting activities that the legislation at issue in this action was

  designed to protect.

         The strong public interest in the issues raised in this action should permit the

  amicus filing, especially from Amicus which represents over 500,000 concerned

  citizens. In a case of this wide-ranging public significance, dealing with the

  constitutionality of State-wide legislation and its effect on sports participation throughout

  the State, this Court should hear the views of all interested citizens.

         For the foregoing reasons, this Court should grant this motion and should permit

  the filing of the attached Amicus Brief. 1

              CERTIFICATE PURSUANT TO S.D.FLA. CIVIL RULE 7.1(a)(3)

         All parties responding to counsel’s request for consent to file the Amicus Brief

  have consented. Three defendants have not responded. By email to all counsel of

  record, as shown on the docket sheet, on August 23, 2021 at 11:04 AM, undersigned



  1
   No counsel or other representative or agent of any party in this case authored any part
  of the attached Amicus Brief or exercised any form of control or approval over the
  attached Amicus Brief or any portion of it. No person or entity, aside from Amicus or its
  counsel, made a monetary contribution to the preparation or submission of the attached
  Amicus Brief.

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  counsel for Amicus requested the consent. Consent was received from counsel for

  plaintiff and for defendants Governor DeSantis, Florida State Board of Education, and

  Commissioner Corcoran. No response was received from defendants Broward County

  School Board, its Superintendent, or Florida High School Athletic Association.


  Dated: August 23, 2021                    Respectfully submitted,

                                            LAW OFFICE OF DENNIS GROSSMAN
                                            Attorney for Amicus, Christian Family
                                            Coalition (CFC) Florida, Inc.

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